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                                                                            Fish & Richardson P.C.
                                                                            222 Delaware Avenue
                                                                            17th Floor
VIA ECF                                                                     P.O. Box 1114
                                                                            Wilmington, DE 19899-1114

August 26, 2015                                                             302 652 5070 main
                                                                            302 652 0607 fax

The Honorable Leonard P. Stark
United States District Court for the District of Delaware                   William J. Marsden, Jr.
844 King Street                                                             Of Counsel
Wilmington, DE 19801-3555                                                   marsden@fr.com
                                                                            302 778 8401 direct

Re:    Fairchild Semiconductor v. Power Integrations
       USDC-DE - C.A. No. 12-540 LPS

Dear Chief Judge Stark:

I am writing with respect to Fairchild’s motions for an accounting [D.I. 452], interest [D.I. 453], and
an injunction [D.I. 455], all of which were untimely filed this past Friday. After the parties’ trial this
summer in the above-captioned matter, the parties met and conferred regarding the schedule for
post-trial briefing, and Fairchild repeatedly made clear that “The Pretrial Order (D.I. 303) set the
briefing schedule for all post-trial motions, including renewed motions for judgment as a matter of
law and motions for new trial, as follows: Opening briefs shall be filed by August 12, 2015 . . . .”
[Ex. A (FCS draft joint status report).] Fairchild reiterated this position regarding the deadline for all
post-trial motions four times in writing during the course of the parties’ meet and confer regarding
post-trial briefing. Fairchild’s subsequent letter to the Court similarly stated that the deadline for
opening post-trial briefs, including (but not limited to) JMOL / new trial briefing, was August 12.
[See D.I. 411.] Following the parties’ submissions, the Court’s letter regarding post-trial briefing
[D.I. 415] did not change the briefing schedule, and Power Integrations therefore filed its own post-
trial motions, including its motion for an injunction, by the August 12 deadline.1

The parties have discussed this issue but have not been able to resolve their disagreement. Given
that Fairchild’s motions were filed more than a week after the applicable deadline, and with the
benefit of reviewing Power Integrations’ own timely motions, Power Integrations requests that the
Court hold Fairchild to the agreed schedule and strike Fairchild’s untimely motions. We are also
available to discuss this matter at the Court’s convenience.

Respectfully submitted,

/s/ William J. Marsden, Jr.

William J. Marsden, Jr.

Enclosure
cc: All Counsel of Record (via electronic mail)

1
 The one exception to this schedule is that motions requesting fees are governed by Federal Rule of Civil
Procedure 54, which provides a different timeframe for briefing. In view of the governing framework,
the parties’ fees briefing, filed on Friday, Aug. 21, was timely.
